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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


GREGORY A. COLLINS,                             )
                                                )
               Petitioner,                      )
                                                )
vs.                                             )     CIVIL NO. 98-cv-156-WDS
                                                )     CRIMINAL NO. 91-CR-30018-WDS
UNITED STATES OF AMERICA,                       )
                                                )
               Respondent.                      )


                                 MEMORANDUM & ORDER

STIEHL, District Judge:

       Before the Court is petitioner’s pro se motion seeking relief from final judgment pursuant

to Fed. Rule Civ. P. 60(b)(4) and a show cause order, or alternatively, transfer of his case to the

Court of Appeals (Doc. 30). The Court construes petitioner’s request to “transfer” the case to the

Court of Appeals as a request for a Certificate of Appealability.

       Also before the Court is petitioner’s motion to correct clerical error or mistake arising from

oversight or omission (Doc. 580), which he filed in his criminal case (91-CR-30018-WDS). The

government has filed nothing in response.

                                         BACKGROUND

       Petitioner filed his initial motion pursuant to 28 U.S.C. § 2255 on February 25, 1998 in this

civil action (Doc. 1). Petitioner’s initial motion was denied and the case was dismissed with

prejudice as time barred on June 10, 1998 (Doc. 4). On June 22, 1998, petitioner filed a motion to

reconsider the dismissal, which this Court granted (Doc. 6). The Court later granted in part and

denied in part the motion to vacate, set aside, or correct sentence as follows: the Court granted the

motion as to Count 2 only, and the conviction and sentence on Count 2 was vacated and set aside,
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and a $50.00 special assessment was refunded to petitioner; petitioner’s sentence of life without

parole on Counts 1 and 12 were unaffected, and the motion was denied on all other grounds and

dismissed with prejudice (Doc. 9). Judgment was entered on this ruling on September 18, 1998

(Doc. 10).

       Petitioner appealed this decision, but the Seventh Circuit dismissed the appeal on July 7,

1999 (Collins v. United States, No. 99-2226, 99-2227). While his appeal was pending, petitioner

filed a motion for reconsideration with this Court (Doc. 12), which the Court denied on May 12,

1999 (Doc. 17). Petitioner then appealed that decision, and the Seventh Circuit denied his request

for a certificate of appealability on July 14, 2000 (Collins v. United States, No. 99-2226, 99-2227).

       Petitioner’s present motion was filed February 11, 2010, seeking relief from final judgment

and the reopening of his § 2255 petition. Petitioner asserts that he is entitled to relief because all

of the claims alleged in his § 2255 and Rule 33 motions were not addressed.

                                            ANALYSIS

I.     Successive Petition Pursuant to § 2255

       Generally, district courts lack jurisdiction to hear second habeas petitions under § 2255.

Curry v. United States, 507 F.3d 603, 605 (7th Cir. 2007); Burton v. Stewart, 549 U.S. 147, 157,

127 S.Ct. 793, 799 (2007). The issue here is whether the instant motion is a “second or successive

motion” within the meaning of § 2255 requiring authorization from the Court of Appeals for this

Court to have jurisdiction.

       Although § 2255 gives jurisdiction over first habeas petitions to the district courts, it states,

“[a] second or successive motion must be certified as provided in section 2244 by a panel of the

appropriate court of appeals....” Petitioner now contends that his recent motion is not a second


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motion within the meaning of § 2255 because the Court failed to consider or resolve an issue

squarely presented and thus the defect does not lie in the Court’s resolution of the merits but is a

“true” 60(b) claim. In his present motion petitioner, however, cites arguments he made in his

previous petition and then cites the Court’s Order in which the Court, in fact, addresses those

arguments.

        Petitioner also relies heavily on Gonzalez v. Crosby, 545 U.S. 524 (2005) in support of his

argument that he is attacking the integrity of the habeas proceeding and not the previous decision

or raising new issues. In Gonzalez, the Supreme Court considered the effect of the Antiterrorism

and Effective Death Penalty Act of 19996 (“AEDPA”), codified at 28 U.S.C. § 2244(b), on Rule

60(b) motions in habeas cases. Id. at 526. The Supreme Court stated that “Rule 60(b), like the rest

of the Rules of Civil Procedure, applies in habeas corpus proceedings under 28 U.S.C. § 2254 only

‘to the extent that [it is] not inconsistent with’ applicable federal statutory provisions and rules.”

Id. at 529.

        Moreover, second or successive habeas petitions are subject to three requirements: (1) any

claim that has already been adjudicated in a previous petition must be dismissed; (2) any claim that

has not already been adjudicated must be dismissed unless it relies on either a new and retroactive

rule of constitutional law or new facts showing a high probability of actual innocence; and (3) before

the district court may accept a successive petition for filing, the court of appeals must determine that

it presents a claim not previously raised that is sufficient to meet § 2244(b)(2)’s new-rule or actual-

innocence provisions. Id. at 529-30.

        Notably, the Gonzalez case is based on Rule 60(b) in habeas proceedings under § 2254, and

not § 2255, under which the petitioner here applied for relief. Id. at 530. Bearing that in mind, the


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Supreme Court concluded that “[v]irtually every Court of Appeals to consider the question has held

that such a pleading, although labeled a Rule 60(b) motion, is in substance a successive habeas

petition and should be treated accordingly” and that those holdings are correct. Id. at 531. The

Court opined that any type of attack on the merits of the proceeding are second or successive

petitions, while motions regarding non-merits aspects should not be treated as second or successive.

Id. at 534. Where there is no substantive claim presented but instead, the petitioner presents an issue

regarding a ruling that precluded a merits determination (such as dismissal on statute of limitations

grounds), then the petition is not considered second or successive. Id. at 532. The Supreme Court

held that a motion that challenges only the district court’s failure to reach the merits can be ruled

upon by the district court without precertification. Id. at 538.

        While petitioner here asserts that his claim is not merits-based, the Court FINDS that it is

in fact merits based. Petitioner argues that the Court failed to consider the knowing use of perjured

testimony, but then cites the Court’s Order where it specifically addresses the issue.1 The Court


        1
         Petitioner’s motion (Doc. 30) includes the following citation from the Court’s Order dated September 18,
1998:
                 Petitioner alleges several Brady violations regarding the testimony of Andrew Chambers.
        Specifically Petitioner alleges the government either knew or should have known that Chambers
        perjured himself at trial. Petitioner alleges Chambers lied about his dealing with Petitioner, his
        criminal history, his compensation for testifying against Petitioner, and his educational
        background. See United States v Duke, 50 F.3d 571, 576-80 (8th Cir.) [sic] Cert. denied, 516 U.S.
        865 (1995) (chronicling Chambers history of perjury and false testimony in an unrelated case).
        Petitioner also alleges that the government failed to disclose Chambers was barred from testifying
        or working as an informant in California because he lied to authorities on several occasions.
                 To be successful on his Brady claim, Petitioner must show the evidence was favorable,
        suppressed, and material to this case. Veras, 51 F.3d at 1374, citing United States v. Dimas, [sic]
        F.3d 1015, 1017 (7th Cir. 1993). Petitioner, however, fails to demonstrate that the alleged false
        evidence was material and would have changed the outcome of the trial. The government
        presented extensive evidence proving Petitioner’s involvement and leadership in the conspiracy
        including audio and video surveillance and the testimony of DEA agents, expert witnesses, drug
        purchasers, and co-conspirators. Williams v. United States, 81 F.3d 1434, 1438-41 (7th Cir. 1996),
        Cert. denied, 513 U.S. 940 (1994). Chambers testified that he also planned to sell fifteen
        kilograms of cocaine to Collins and Collins backed out of the deal solely because he thought they
        were being surveilled [sic] by the government.

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made a ruling on petitioner’s claim, petitioner had the opportunity to appeal and did in fact appeal

the decision, and thus this issue would constitute a successive issue, and not a non-merits based

issue.

         Petitioner’s second assertion relates to the Court’s ruling on petitioner’s Rule 33 motion,

which petitioner claims is void because the Court failed to consider the knowing use of perjured

testimony. Petitioner attempts to frame this issue as a non-merits based issue because he claims the

Court never even considered this issue. Petitioner again, however, repeats the argument he asserted

in his motion for new trial and then cites the Court’s Order addressing the issue.2 Thus, the Court

did in fact make a merits determination on this issue, and any request for consideration of the issue

now is successive, and not allowed without leave from the Court of Appeals.

         Both of petitioner’s arguments are merits based attacks on the Court’s previous decisions.

The Court, therefore, FINDS that petitioner’s motion for reconsideration is a successive motion

within the meaning of § 2255 and that the Court has no jurisdiction to consider its merits and the

motion for relief (Doc. 30) is DISMISSED.



         2
          Petitioner’s motion (Doc. 30) includes the following citation from the Court’s Order dated August 6, 2001:
                    Defendant’s Rule 33 Motion For New Trial and Motions For Discovery seek to have the
         Court review his conviction based on challenges to the credibility of witnesses at trial. The Court
         has, however, previously addressed Defendant’s challenges to the credibility of most of these same
         witnesses in its ruling on Defendant’s habeas petition. In particular, Defendant asserted in his
         habeas petition that there were several Brady violations regarding the testimony of Andrew
         Chambers, a government witness, and whether he had perjured himself at trial. The Court found
         that the Defendant failed to establish that the false evidence was material and would have changed
         the outcome of the trial. As this Court noted, “the government presented evidence proving
         Collins’ involvement and leadership in the conspiracy including audio and video surveillance and
         the testimony of DEA agents, expert witnesses, drug purchasers, and coconspirators”
         Memorandum & Order of September 18, 1998, pp. 5-6. The Court specifically found that Collins
         [sic] trial counsel had impeached Chambers’ credibility and that there was no reasonable
         likelihood that Chambers’ false testimony or undisclosed background, or both, would have
         affected the jury’s decision. Id. at 6. The Court further found that the Defendant had not
         established ineffective assistance of counsel based on his claim that counsel had failed to
         investigate Chamber’s [sic] background. Id. at 6-7.

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II.     Motion to Correct Clerical Error or Mistake filed in Petitioner’s Criminal Case No. 91-
        CR-30018

        Petitioner also filed a motion in his criminal case asking the Court to “vacate the conviction

and sentence for count 12 because the minor (Andrea Ward) was presented before the Grand Jury

as an adult co-conspirator in count 2 as a willing participant in the conspiracy.” Although petitioner

titles his motion as one to correct a clerical error, he is, in fact, challenging his conviction and asking

for a sentence reduction. As discussed infra, this motion is a successive petition, and therefore

petitioner may not make such a request nor does this Court have jurisdiction until petitioner applies

for, and obtains permission from, the Court of Appeals.

        Accordingly, petitioner’s motion to correct clerical error or mistake arising from oversight

and/or omission (Doc. 580) filed in his criminal case (3:91-30018-WDS) is DISMISSED for lack

of jurisdiction. 28 U.S.C. § 2244.

III.    Relief Pursuant to Federal Rule of Civil Procedure 60(b)

        Even if petitioner’s motions were not successive, petitioner is not entitled to relief pursuant

to Fed. R. Civ. P. 60(b). Petitioner’s attempt to categorize his most recent motion as a motion for

reconsideration, and not a second or successive petition pursuant to § 2255, is fruitless, as relief is

not available to him under Fed. R. Civ. P. 60(b)(4). Under Rule 60(b), a court may grant relief only

under the particular circumstances enumerated in the Rule, including: (1) mistake, inadvertence,

surprise, or excusable neglect; (2) newly discovered evidence; (3) fraud; (4) a void judgment; (5)

a satisfied, released, or discharged judgment; or (6) any other reason justifying relief from the

operation of the judgment. “Rule 60(b) is ... an extraordinary remedy,” which does not allow for

“general pleas of relief.” United States v. Deutsch, 981 F.2d 299, 301 (7th Cir.1992) (internal

citation omitted). Nor is Rule 60(b) the “proper avenue to redress mistakes of law committed by the

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trial judge.” Parke-Chapley Constr. Co. v. Cherrington, 865 F.2d 907, 915 (7th Cir.1989). Legal

error is not one of the specified grounds for a Rule 60(b) motion; in fact, it is “a forbidden ground.”

Marques v. Fed. Reserve Bank of Chicago, 286 F.3d 1014, 1017 (7th Cir. 2002).

        Fatal to petitioner’s motion is section (c) of Rule 60 regarding timing: “a motion under Rule

60(b) must be made within a reasonable time–and for reasons (1), (2), and (3) no more than a year

after the entry of the judgment or order or the date of the proceeding.” Even if the Court considered

the date of the latest decision, July 14, 2000, as the date to begin time calculations, petitioner’s Rule

60(b) motion should have been filed by July 14, 2001. Petitioner, however, purports to rely on sub-

section (4) of Rule 60(b), which requires such motion to be filed within a “reasonable” time.

Certainly, nine (9) years after the final decision cannot be considered “reasonable” time as required

by the rule. Additionally, petitioner’s pleading does not fit the categorization of Rule 60(b)(4), as

the Court’s previous decisions are in no way “void.”

III.    Request for Certificate of Appealability

        Pursuant to 28 U.S.C. § 2253 the petitioner may not proceed on appeal without a certificate

of appealability. Section 2253(c)(2) provides that a certificate of appealability may issue “only if

the applicant has made a substantial showing of the denial of a constitutional right.” Further,

§2253(c)(3) provides: “The certificate of appealability under paragraph (1) shall indicate which

specific issue or issues satisfy the showing required by paragraph (2).” Here, petitioner has not set

forth any grounds for issuance of a certificate of appealability. The Court FINDS that the record

does not support such a finding, and therefore, the Court declines to issue a certificate of

appealability in this case.




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                                          CONCLUSION

       Accordingly, petitioner’s motion seeking relief from final judgment and reopening of his

case is DISMISSED (Doc. 30). Petitioner’s motion seeking relief, filed in his criminal case, is also

DISMISSED for lack of jurisdiction (Doc. 580, 91-CR-30018). Furthermore, the Court DENIES

petitioner’s request for a Certificate of Appealability.


IT IS SO ORDERED

DATE: November 22, 2010
                                               /s/ WILLIAM D. STIEHL
                                                    DISTRICT JUDGE




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